                                                               United States Bankruptcy Court
                                                                          District of Oregon
 In re      Blue Star Doughnuts LLC                                                                                   Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Basil Bullard                                                       Common Units          15                                    Ownership Interest
 2541 NW Overton Street
 Portland, OR 97210

 Gary "Chip" Rothenberger, Jr.                                       Common Units          15                                    Ownership Interest
 2737 NW Skyliners Rd
 Bend, OR 97703

 Katherine J. Poppe                                                  Common Units          46                                    Ownership Interest
 aka Katherine J. House
 3753 N Mississppi Ave
 Portland, OR 97227

 Micah L. Camden                                                     Common Units          14                                    Ownership Interest
 2214 SE 8th
 Portland, OR 97214

 W.P. Price Tax and Accounting, LLC                                  Common Units            1                                   Ownership Interest
 c/o William Price
 70 SW Century Drive 100-328
 Bend, OR 97702


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Financial Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date August 26, 2020                                                        Signature /s/ Will Price
                                                                                            Will Price

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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